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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

    In re:                                     :
                                                   Docket #21cv2587
     FLYNN, et al.,                            :

                           Plaintiffs,         :

      - against -                              :

     CABLE NEWS NETWORK, INC.,                 : New York, New York
                                                 November 23, 2022
                           Defendant.          :

    ------------------------------------- :

                             PROCEEDINGS BEFORE
                        THE HONORABLE SARAH L. CAVE,
                       UNITED STATES MAGISTRATE JUDGE

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                          E X A M I N A T I O N S

                                                    Re-       Re-
    Witness                Direct     Cross       Direct     Cross

    None

                               E X H I B I T S

    Exhibit                                                          Voir
    Number           Description                       ID    In      Dire

    None
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2              THE COURT:     Good morning, this is Magistrate

3    Judge Cave.    We’re here for a conference in Flynn v.

4    CNN, case number 21cv2587.        May I have appearances

5    starting with the plaintiff please.

6              MR. STEVEN BISS:        Judge Cave, good morning,

7    and Happy Thanksgiving.       This is Steve Biss, I represent

8    the Flynns.

9              THE COURT:      Okay, good morning, and same to

10   you.

11             MS. KATE BOLGER:        Good morning, Judge Cave,

12   and Happy Thanksgiving.       This is Kate Bolger on behalf

13   of CNN, and the other two people on the line are my

14   colleagues Meena Krishnan and Lindsey Cherner who

15   actually do most of the real work, and so I wanted them

16   to have the chance --

17             THE COURT:      Great, well, we’re always thankful

18   for the people who do the real work.          All right, so a

19   few discovery issues today.        I’d like to start with the

20   privilege, CNN’s privilege log as the parties had

21   provided me with a privilege log and then CNN had

22   submitted to me for in camera review some of the

23   documents that are listed on that log.           So, Ms. Bolger,

24   I’ve had a few follow-up questions for you after now

25   reviewing the log alongside the documents.
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2               And so one question is there’s a reference to,

3    I think it’s in, and I’ll go by the document number, the

4    numbering on the log, not the Bates numbers, as I refer

5    to these documents.      Document number 10 refers to the

6    row, the document says it’s notes from the row.             What is

7    the row?

8               MS. BOLGER:      The row is generally a kind of a

9    nickname (indiscernible) given to people who review

10   content for editorial purposes.         Generally, when things

11   are sent to be, sent for attorney-client review, they’re

12   all reviewed simultaneously with attorney-client review

13   standards and editorial.       So they all input their

14   information on the same email exchange.

15              THE COURT:     Okay, understood.       I wasn’t show

16   it was a show or --

17              MS. BOLGER:      Understood, Your Honor.

18              THE COURT:     Okay.    All right, and then there

19   is another reference to, on document number 83, it’s T-

20   R-A-I-D, Traid or Triad (phonetic), I’m not sure.

21              MS. BOLGER:      TRIAD is a nickname given to, as

22   I said, the process of people reviewing is sort of

23   iterative, and TRIAD is those three groups, the

24   attorneys, the (indiscernible), and the row.             It goes at

25   once and they kind of iterate on top of each other, but
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2    TRIAD is the shorthand term given to those three groups.

3              THE COURT:      Okay, great.      And then document

4    number 82 refers to someone named Richard Davis.                Is he

5    an attorney?

6              MS. BOLGER:       I don’t know the answer to that,

7    Your Honor.

8              THE COURT:      Okay.    Maybe if that’s something

9    that your helpful colleagues might be able to check

10   while we’re talking, I’ll move on to something else, you

11   know, another sort of more categorical question.                And

12   that is obviously each of the documents is an email

13   chain, and the log, it appears to me, to be referring

14   each entry on the log is just the top email in the

15   chain.   Am I interpreting the log correctly?

16             MS. BOLGER:       Yes.   Yes, Your Honor, although

17   we produced every, endeavored to produce every email in

18   the chain, if that makes any sense.          And so every email

19   should be logged even if every email is not logged in

20   each square.

21             THE COURT:      Right, right, okay.        That seemed

22   to me to be correct.      But let’s just say, you know, some

23   of these I think I’m going to have an issue with the

24   privilege, and I can explain to you, you know, some

25   examples of that.      But if I were to direct you to
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2    produce let’s just say entry number 4, and that entry

3    number 4 refers to just the top email from Ashley

4    (indiscernible) to Donie O’Sullivan, will you understand

5    that I’m just referring, you know, what I’m calling for

6    is the production of that email specifically, and it’s

7    on the same piece of paper with other documents as to

8    which there’s no dispute about the privilege.             I guess

9    it’s just a matter of redacting, so things that are

10   privileged and producing the rest.          Does that make

11   sense?

12             MS. BOLGER:       That does make sense.        Your

13   Honor, I will tell you that we made those calls because

14   it was the producer and the news gatherer in that case

15   doing the instruction of the attorney-client, of the

16   attorney, which is why we thought (indiscernible)

17   iterative.    They are all building on each other’s ideas,

18   and they all are modifying the report as reflected in

19   the comments from (indiscernible).          So I do think it’s

20   privileged, and that was the basis of our assertion, but

21   I do understand what you’re saying, Your Honor.             But the

22   theory behind the privilege was that everybody was

23   commenting on what Mr. Keel was saying rather than just

24   discussing in the abstract without him.

25             THE COURT:      Right, but I guess to push back on
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2    that a little bit, it seems to me like there’s sort of

3    multiple threads in this chain, and there’s certainly

4    Mr. Keel’s comments and then there are very clearly –

5    which are, there’s no dispute about Mr. Keel’s comments

6    being privileged, and then there are people responding

7    to Mr. Keel directly.       But then there do seem to be

8    separate threads where someone else is making a

9    different comment that doesn’t relate to what Mr. Keel

10   said, and then there may be two or three responses to

11   that non-Keel comment.       And those to me don’t seem to be

12   privileged.

13             MS. BOLGER:       Although, in general, they were

14   often on a version of the script that included Mr.

15   Keel’s comments.

16             THE COURT:      Okay.

17             MS. BOLGER:       So in other words if you were to

18   disclose that document, you might be, you would disclose

19   Mr. Keel’s comments below.

20             THE COURT:      Okay.    All right, and then another

21   one of the documents, I think is 47, is labeled,

22   quote/unquote, “the final script.”          It seems to me if

23   it’s the final script, then that’s what was used, that

24   that should be produced.       Right?

25             MS. BOLGER:       It’s the final script that’s
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2    being sent for review.       We did produce the final script,

3    so Mr. Biss has what was aired.         That is the final

4    script that was reviewed.

5              THE COURT:      All right.

6              MS. BOLGER:       So, in other words, it is a

7    document seeking legal advice is how we perceive it.

8              THE COURT:      Okay, well, there seem to be two.

9    So document number 4 is what appears to be sort of the

10   first draft that everybody comments on, and then there’s

11   comments, comments, comment, and revisions, and then

12   document 47 is labeled, quote, “the final script,” and

13   there don’t appear to be any comments after that.

14   That’s what I’m asking.

15             MS. BOLGER:       Yes, but that document is to

16   legal asking them to review it one last time.             It’s not,

17   that’s not – that document is sent specifically for

18   final legal review, not for publication.

19             THE COURT:      Okay, I see.      All right, and --

20             MS. BOLGER:       And just to answer your question,

21   Mr. Davis is in standard and practices, so he’s that

22   third row editorial, legal is legal, and standard and

23   practices is what Mr. Davis is.         He’s not a lawyer, he’s

24   a standards guy.

25             THE COURT:      Okay.    And then on document number
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2    87 is a text chain I think between, well, I’m not sure.

3    I guess (indiscernible) and Ms. Sansant (phonetic), and

4    according to the privilege log, this was produced

5    redacted or portions of it were redacted for privilege?

6              MS. BOLGER:       Yes.

7              THE COURT:      Okay.     All right.    And are you

8    able to tell me which portions were redacted?             I only

9    have the full version.       So is it, I think the third text

10   bubble, is that the one that was redacted?

11             MS. BOLGER:       I think so, Meena or Lindsey, can

12   you just tell me that?       We only redacted the portion

13   discussing legal advice and, Meena, it’s the third

14   bubble, right?

15             MS. KRISHNAN:       Yes, the third bubble is the

16   one that mentions legal.

17             MS. BOLGER:       Yeah.    Yes, that’s right, it’s

18   the third bubble.

19             THE COURT:      Okay, great, thank you.         Okay,

20   well, like I said, I never view the documents twice.               I

21   think in light of what Ms. Bolger’s has told me today, I

22   just need to do a final pass through these.            So I don’t

23   think I’ll be able to get you my final, I’m certainly

24   not going to be able to give you my final ruling on the

25   documents during this conference, but you’ll have it
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 2   very shortly after the holiday.          But that’s helpful, and

 3   just so that I have a full record, I am going to ask the

 4   parties to order a transcript of today’s proceeding so

 5   that I can have that alongside my final review of the

 6   documents.

 7              MS. BOLGER:      And, Judge Cave, I’m happy to

 8   answer any questions or have Meena who knows more than

 9   me answer any questions if offline or however it’s

10   helpful.     I will tell you that these were not like easy

11   parsing.     We were trying very hard to parse them as

12   carefully as possible, and we feel very comfortable that

13   we were, you know, in good faith trying to make sure

14   that the comments were iterative of each other or

15   directly seeking legal advice like 47.

16              THE COURT:      Right, I guess I just, without

17   disclosing the contents of any of them, I think there

18   are some that are very clearly not, don’t have anything

19   to do with legal advice.        And so I think there are a few

20   that can --

21              MS. BOLGER:      As long as you would please watch

22   out for the script at the bottom which has --

23              THE COURT:      I understand, yes.       I understand,

24   I understand.     Okay, all right, that’s all very helpful,

25   thank you.
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 2               Okay, so, Mr. Biss, thank you for your patience

 3   while I worked through all those questions, and like I

 4   said, I’ll have a decision for you hopefully next week.

 5   So I know that your letter came in second, but I’ll pick

 6   through your issues first which CNN responded to last

 7   night, and I guess maybe there are some questions about

 8   whether any of these issues are, in fact, ripe.

 9               But I guess the first issue, Mr. Biss, is the

10   ratings documents, and it looks like from CNN’s response

11   that CNN is still working on that issue.            So is there

12   anything you need to discuss on that?

13               MR. BISS:     No, Your Honor, I’m willing to keep

14   working with them on that.        I mean Ms. Bolger has

15   indicated in the past on various requests, as Your Honor

16   is aware, that they’re working on it, and they’ve

17   supplemented where possible or she’s told me we don’t

18   have any documents, and I think that would end the

19   matter.     So, number one, I think I’m comfortable

20   continuing to work with counsel on that.

21               THE COURT:     Okay, same for viewership?            It

22   looks like that’s in progress.         Some things have been

23   produced, and if there’s anything else, they’ll produce

24   it.   Is there anything else you need to discuss on that,

25   Mr. Biss?
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 2              MR. BISS:      Judge, I think, again, I think I

 3   can work with counsel on that.         They can just point me

 4   to what they produced.       I just don’t recall that I got

 5   anything on viewership, but it may be that it’s there

 6   because there’s been a lot produced by them.             So if they

 7   could just point that out to me, I think we can handle

 8   that, counsel can handle that and resolve that.

 9              THE COURT:      Okay.

10              MS. BOLGER:      There in footnote 1 in the

11   letter.

12              MR. BISS:      Pardon me?

13              MS. BOLGER:      We listed them in footnote 1 for

14   you.

15              MR. BISS:      Okay.

16              THE COURT:      All right, the next on your list,

17   Mr. Biss, is dossiers and research.           Is this issue ripe

18   today?

19              MR. BISS:      I think it is.      We did have a meet

20   and confer on this back I think on October 4 is when we

21   had a meet and confer on this.         Our last meet and

22   confer.   And, again, I addressed it subsequently in an

23   email as well.     So I do think it’s ripe.

24              THE COURT:      Okay.    All right, Ms. Bolger, do

25   you want to expand on your response in your letter?
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 2              MS. BOLGER:      Sure.    The question asked broadly

 3   for any dossiers and research related to Trump, General

 4   Flynn, or QAnon.      It is not limited to the reported

 5   issue here.    And just a reminder, Your Honor, that we

 6   have produced all responsive non-privileged documents

 7   related to the report, and we are continuing to make

 8   sure we’ve covered all our bases on that.            So to the

 9   extent that we have documents about Trump, General

10   Flynn, or QAnon related to this report, we’ve produced

11   them.   This is (indiscernible) focused on

12   (indiscernible), well, focused on the publication of

13   those statements, and, you know, we’re entitled to

14   provide information related to those statements.

15              Anything else would be, one, outrageously

16   burdensome.    I would remind you that Donald Trump was

17   the President, General Flynn was the National Security

18   Advisor, and there’s millions of stories that have been

19   done about them over time, as there have been millions

20   of stories been done about QAnon.

21              And, second, to the extent that it seeks

22   explicit news data and materials unrelated to those

23   stories, that information would be privileged.              And we

24   talked about this briefly at the last conference, but it

25   would be privileged under New York law because their
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 2   journalists expected New York privilege.            Homer v.

 3   Winter in the Court of Appeals, millions of cases

 4   talking about how when a journalists expects the

 5   privilege, that’s the privilege that you apply.              So that

 6   means if there’s confidential information in there, it’s

 7   absolutely privileged, and if there’s non-confidential

 8   information in there, Mr. Biss would have to make a

 9   showing that this information was highly material and

10   necessary, critical and relevant, and not available from

11   another source.      And there’s no way that he would ever

12   be able to make a showing that some document somewhere

13   that may or may not exist, by the way, about Donald

14   Trump or General Flynn or QAnon is critical and

15   necessary to defense of this action.           So it’s overbroad,

16   one, and, two, it calls from protected news gathering

17   material.

18               And, Your Honor, if you are contemplating

19   asking for the production of our news gathering

20   materials related to this piece, I would ask the

21   opportunity to brief that.        Reverse privilege is

22   obviously incredible important to news organization, and

23   compelling the disclosure of this information over which

24   they have rights guaranteed to them by the First

25   Amendment, the New York State Constitution, and New York
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 2   State law is really serious business for a news

 3   organization.     So I would ask that if we’re really going

 4   to talk about that, I’d be permitted to file briefing on

 5   this.   But to me this is a no-brainer.          It is so

 6   overbroad and so irrelevant that I don’t think you

 7   (indiscernible).

 8              THE COURT:      Right, right.      Okay.    I’m not

 9   going to compel any production of dossiers and research

10   on former President Trump, General Flynn, or QAnon or

11   communications with January 6 committee regarding

12   General Flynn or QAnon.        As it’s been represented to me

13   by defendant’s counsel, they’ve produced all responsive,

14   non-privileged documents relating to this report, and

15   obviously there’s ongoing efforts to make sure that that

16   production is complete.        But anything, you know, this

17   case is about one specific report, and even more so of

18   two or three second clip.        And so the production the

19   plaintiffs are calling for are overly broad and would be

20   unduly burdensome and would be calling for things that

21   are just simply not relevant to this case.             So that

22   request is denied.

23              Next, Mr. Biss, is documents about General

24   Flynn promoting a QAnon slogan.

25              MR. BISS:      Yes, and, Judge, if I just may be
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 2   heard briefly on the, obviously it’s relevant to the

 3   clip because the clip definitely shows a picture of

 4   Donald Trump and General Flynn at a podium, and it says,

 5   and I haven’t listened to it in a week or so, but it

 6   says words to the effect of General Flynn promoting a

 7   QAnon slogan, Where We Go One, We Go All.            So we want to

 8   see any documents that would support that assertion in

 9   the report, and it sort of goes along with number 6.

10               Obviously, it’s our position that CNN targeted

11   my clients because of their familial relationship with

12   General Flynn.     In discovery in this case there are zero

13   documents, no documents whatsoever that have been

14   produced that support the statement that’s at issue in

15   the case.    And so we want to know why the Flynn family

16   was targeted.     Was it just gross negligence or was it

17   intentional?     And why is General Flynn being targeted?

18               So what the Court – and so that’s why I think

19   it’s relevant, and it goes to the issue of why the

20   plaintiffs are, were introduced into this video.                 And

21   the broader question though is it also calls for the

22   discovery of information that would support why the, why

23   General Flynn was put into the report, why the report

24   was constructed the way it was, why the clip of

25   President Trump and General Flynn at a podium and flags
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 2   of Where We Go One, We Go All were all put together for

 3   purposes of supporting this theme that these are all

 4   QAnon followers, like the people in, like the QAnon

 5   shaman and the others who were identified in the clip.

 6              And, more importantly, it’s consistent with

 7   CNN’s discovery, and I guess what the Court doesn’t know

 8   is that CNN is, has issued multiple subpoenas to third

 9   parties requesting any and all documents relating to

10   General Flynn for a period going back to November of

11   2016, just extremely broad and expansive.            And they’re

12   clearly, I guess they’re clearly looking for some

13   documents that tie my clients to conferences that

14   General Flynn either spoke at or didn’t speak at.                 But

15   they have, you know, the latest subpoena they issued is

16   to the, is to something called the Digital Soldiers

17   Conference.    And I guess what’s going on is that

18   somebody’s Googling over at either counsel’s office or

19   CNN, Googling to determine where General, what

20   conferences General Flynn went to, and then they

21   subpoena every one of those conferences.            And --

22              THE COURT:      Well, respectfully, Mr. Biss,

23   those subpoenas are not before me today, and so nobody

24   has moved to quash those, but, you know, this issue goes

25   to the truth of the matter asserted.           So this is an
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 2   affirmative defense for CNN.         So if General Flynn and

 3   the Flynns were, had promoted QAnon, then I assume what

 4   CNN will be arguing is that the statement they made

 5   about the Flynns was truthful, and, therefore, they’re

 6   not liable.    So that’s why that discovery is going in

 7   that direction.

 8              MR. BISS:      Right, and then by the same token

 9   my discovery is designed to show the falsity of it.                My

10   discovery is to show that General Flynn didn’t promote

11   any QAnon slogans and that General Flynn is not a QAnon

12   follower, and guilt by association, neither are any of

13   his family members.

14              THE COURT:      Well, then your document request

15   should be for any documents that show that General Flynn

16   did not promote any QAnon slogans, not that he did.

17   That would be an accurate request for what you’re going

18   at.   So that to me seems like a more appropriate

19   request.    If CNN had a document showing that General

20   Flynn did not promote QAnon, then that would be

21   responsive.

22              MR. BISS:      But, Your Honor, that’s like trying

23   to prove a double negative.         I mean he’s not a QAnon

24   follower, and he never promoted QAnon slogans, and as

25   many times as they want to say it, it’s not true.                And
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 2   so I just requested show me the evidence, show me where

 3   he’s a QAnon follower.       And they – that’s really what

 4   I’m trying to get at.       I want to make sure that when I

 5   argue to the jury that General Flynn is not a QAnon

 6   follower and he didn’t promote QAnon slogans, and

 7   everything that CNN put in that report is false, I want

 8   to make sure that they can’t pop up and say, yeah, but

 9   we got a video over here showing him at a conference

10   with --

11              THE COURT:      That would be problematic for

12   other reasons.     Because if they rely – there’s no way

13   they are relying on something at trial that they haven't

14   produced in discovery.       So that’s your protection there.

15              MR. BISS:      And I understand that, but I just

16   want to make sure that I get a full and fair opportunity

17   to see all their evidence before I have to go to trial

18   because I don’t want to take any chances that --

19              THE COURT:      But you will, Mr. Biss, so that’s

20   the rules, that’s what we’re doing.           We’re doing fact

21   discovery.    So if CNN has something that they’re going

22   to use to support their case at trial, they have to be

23   producing it to you now whether you ask for it or not.

24   So you’re sort of – you’re mixing things a little bit.

25   Your protection is that if you’re going to use it at
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 2   trial, it has to be produced in fact discovery.              So –

 3   but – so let me ask Ms. Bolger, has CNN produced any

 4   documents about General Flynn promoting the QAnon

 5   slogan?

 6              MS. BOLGER:      So CNN produced the documents

 7   relevant to this report.        In the report Mr. Flynn uses

 8   QAnon slogans, and he speaks at conferences for QAnon.

 9   He is the coiner of the phrase Digital Soldiers, Your

10   Honor.    He is the person who coined that term.            That’s

11   in the report.     We’ve given you things in the report

12   that show that Mr. Flynn not only affiliated himself

13   with QAnon but actually raised the money off of QAnon.

14   That’s how he paid his lawyers.          Right?    So the report

15   has that information.

16              There’s no information that we would ever rely

17   on at trial that we didn’t produce in discovery.                 We

18   clearly know the rules, Your Honor.           And this material

19   is, which is, again, a massive amount of information,

20   right, General Flynn and his connections to QAnon have

21   been written about on every news organization across the

22   globe forever.     It’s a massive request.         We gave what we

23   had related to the report.        We’re going to try to, as

24   you say, Your Honor, establish the substantial truth of

25   our report by subpoenaing other people, and I would add
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 2   that Mr. Flynn’s siblings have spoken at some of those

 3   conferences.     General Flynn’s siblings, including one of

 4   the plaintiffs here.       So that’s why we’re seeking that

 5   discovery, Your Honor.

 6               But it’s not the same for us, right.          What he

 7   can seek discovery about us is what we used to put

 8   together the report.       We’ve given him that.        If we were

 9   going to rely on something else at trial, we would give

10   him that.    But this is a hugely overbroad request, and,

11   you know, it’s such a hugely overbroad request that

12   would, again, call upon news gathering materials for

13   other reports.

14               THE COURT:     Okay.    All right, well, for the

15   same reason as to number 3 and 4, I’m going to deny any

16   request to compel CNN to search for all documents that

17   show General Flynn promoted any QAnon slogan.             It sounds

18   like CNN has produced documents relating to the specific

19   report that’s at issue in this case and obviously has an

20   ongoing obligation to produce any additional documents

21   that clients related to this report, and then obviously

22   to the extent it has any other documents that it intends

23   to rely on at trial, those must be produced before the

24   end of fact discovery.       But that should alleviate any

25   concerns that Mr. Biss was expressing.
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 2               Number 6 I guess kind of addresses the same

 3   issue, right, Mr. Biss?

 4               MR. BISS:     I think it does, Judge.        Again, for

 5   purposes of my pretrial preparation, I just want to make

 6   sure that I see all evidence that Jack Flynn is a QAnon

 7   follower, all evidence that Leslie Flynn is a QAnon

 8   follower, and all evidence that General Flynn’s a QAnon

 9   follower.     And the time period that’s relevant in my

10   view is the time period before they published the report

11   because obviously if they had no evidence, they

12   would’ve, they obviously were acting maliciously if they

13   had no evidence in their possession.

14               So, again, I do think that evidence that

15   General Flynn was a QAnon promoter or a QAnon follower

16   is relevant.     He’s featured in the report.          He is, he’s

17   in the lineup with the other members of the Flynn

18   family.     They’re all accused of being QAnon followers.

19   So I think it’s fair game to ask them to produce any

20   evidence they have that anybody in that lineup is a

21   QAnon follower.      So that’s the basis of number 6.

22               THE COURT:     Go ahead, Ms. Bolger.

23               MS. BOLGER:     Just one housekeeping matter

24   which is I thought this was number 5.           So I think I’m

25   confused, and I just don’t want to – we are talking
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 2   about the documents that support that General Flynn is a

 3   QAnon follower, right, that’s what we’re talking about?

 4              THE COURT:      Well, 5 and 6, well, number 5, I’m

 5   going off of Mr. Biss’s letter.          Number 5 is all

 6   documents that show --

 7              MS. BOLGER:      I’m sorry, I’m looking at my old

 8   letter which would explain my confusion.

 9              THE COURT:      Your letter has different

10   numbering, so I was going with Mr. Biss’s --

11              MS. BOLGER:      I’m sorry --

12              (interposing)

13              THE COURT:      That’s all right.

14              MS. BOLGER:      But, Your Honor, first of all,

15   General Flynn is not a plaintiff here.           If General Flynn

16   were a plaintiff here, I can see maybe another

17   conversation, although I would still say it was limited

18   to the report.     But I would remind you that this sudden

19   interest in what CNN has on General Flynn is in no way

20   relevant to this lawsuit because he’s not a plaintiff

21   here, and, in addition, this call is for (indiscernible)

22   for something not related to this report, and as a third

23   thing, is massively overbroad.

24              THE COURT:      Okay, well, for the same reasons I

25   denied the requests to compel for the production related
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 2   to (indiscernible), I’m going to deny number 6.

 3              Tell me about number 7, Anderson Cooper’s

 4   documents, Mr. Biss.

 5              MR. BISS:      So the Anderson Cooper’s

 6   involvement in this QAnon promotion by CNN is mentioned

 7   in paragraph, beginning in paragraph 2.            Anderson Cooper

 8   was involved in multiple broadcasts at or around the

 9   time that the report at issue in this case was produced

10   in which he talked about QAnon and how dangerous and

11   extremist he was and cultist and various other words.

12   And so in discovery we want to learn whether Mr. Cooper

13   has any documents that mention Jack Flynn or Leslie

14   Flynn or any member of the Flynn family, again, to

15   determine whether they, whether CNN has or had any

16   evidence that they were QAnon followers at the time that

17   they labeled them QAnon followers.

18              So Mr. Cooper is clearly somebody who was

19   involved in CNN’s QAnon production, and so it would be

20   logical for him, if he has any documents, to have

21   documents that would show that Jack Flynn is a QAnon

22   follower and Leslie Flynn or Valeria Flynn or Laurie

23   Flynn or any other plaintiff, party.           And I don’t think

24   it matters that General Flynn is not a party in this

25   case because CNN has treated him as a party through its
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 2   various subpoenas.      So that’s the nature of number 7.

 3              THE COURT:      Did Anderson Cooper make any

 4   statements about any of the Flynns?

 5              MR. BISS:      No, he didn’t make any statements

 6   about the Flynns at all, but that wouldn't mean that he

 7   wasn’t in communications with Donie O’Sullivan or

 8   others.    It just wouldn't mean that at all, the fact

 9   that he didn’t talk about the Flynns.           The fact is he

10   talked extensively about QAnon and various, and sundry

11   people associated with QAnon, and we just want to know

12   if he ever talked about the Flynns, if he ever had

13   communications with third parties about the Flynns.

14   Because he could have a document in his possession that

15   says, well, they’re not really QAnon followers, and

16   that’s why I’m not going to feature them in any of my

17   reports.

18              So, again, I think it’s, he’s a logical person

19   to subpoena --

20              THE COURT:      If he didn’t say anything about

21   the Flynns and if he didn’t think they were QAnon

22   followers, how does that help your claim?

23              MR. BISS:      Well, I don’t know what he thought

24   or did.    That’s why I issued the document request.             I

25   don’t know what his views are.         He could have a treasure
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 2   trove of documents in there, communications with third

 3   parties talking about the Flynn family, and he could

 4   have questioned why did you put them in this report?

 5   They don’t --

 6              THE COURT:      So what?     He didn’t say anything

 7   about the Flynns though.

 8              MR. BISS:      I don’t know that – Judge, no one

 9   knows if he said anything --

10              THE COURT:      There’s a lot of people, there may

11   be a lot of people who thought things about the Flynns

12   but never said anything.        You’re not, it’s not a First

13   Amendment violation to think something.

14              MR. BISS:      Judge, I know, but he might’ve

15   written something.      He might’ve emailed something.           He

16   might have done, might’ve put a memo together.

17              THE COURT:      But he didn’t say it publicly.

18   There’s no defamation or false like claim for anything

19   that Anderson Cooper did.        Ms. Bolger, let me ask you

20   this, you searched Mr. O’Sullivan’s communications.               Did

21   that search encompass any communications he might have

22   had with Anderson Cooper about the Flynns?

23              MS. BOLGER:      We searched Mr. O’Sullivan’s

24   communications related to this report.           There’s no – and

25   all of Donie’s emails actually.          There’s no
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 2   communications with Anderson Cooper.           Anderson Cooper

 3   had no role in the report.         We have no reason to believe

 4   that Donie O’Sullivan and Anderson Cooper ever spoke at

 5   all about this report or about the Flynns, you know,

 6   Anderson Cooper wasn’t involved in this report.              This is

 7   purely speculative.       And I would add, again, it would be

 8   news gathering materials related to a segment not at

 9   issue, and the reporter’s privilege would be implicated.

10   But just genuinely, Your Honor, Anderson Cooper had

11   nothing to do with this report.          It’s apples and

12   oranges.

13              THE COURT:      All right, well, obviously, Mr.

14   Biss, you can ask, when you depose Mr. O’Sullivan, you

15   can ask him to confirm what Ms. Bolger just said, but

16   aside from that I’m not going to require any further

17   search by CNN on number 7.

18              Number 8 is two other reports, Mr. Biss.

19              MR. BISS:      Yes, Your Honor, they’re mentioned

20   in the amended complaint, and I have requested copies of

21   them.

22              THE COURT:      Okay.

23              MR. BISS:      And they’re in paragraphs 2 and 15.

24              THE COURT:      Okay, Ms. Bolger.

25              MS. BOLGER:      I mean they’re publicly available
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 2   on the CNN website, but if we have copies, we’ll – I

 3   don’t see – we would provide the (indiscernible), I’m

 4   sorry.    We haven't met and conferred on these, Your

 5   Honor, for the fifth request for production and the

 6   fifth request for production there’s been no meet and

 7   confer.   But I didn’t understand whether Mr. Biss wanted

 8   news gathering materials or the published content.               If

 9   CNN has a copy to give Mr. Biss, it would be of the

10   published content, we would do that as a courtesy even

11   though I don’t think it’s relevant.           But the news

12   gathering I would feel differently about.            So we would

13   agree to produce the published content to the extent

14   that we have that.

15              THE COURT:      Okay.    All right, if you could

16   please.   Just that, not the, not all the backstory.

17              All right, number 9 is all Mr. O’Sullivan’s

18   social media accounts.       Why is that, Mr. Biss?

19              MR. BISS:      Well, it’s obviously, he’s the one

20   who published and republished the report and the

21   accusations that the, my clients are QAnon followers.

22   They have requested all of our social media accounts to

23   show that we are Q, I guess to show we are QAnon

24   followers.    And I want to see if Mr. O’Sullivan has any

25   evidence at all anywhere that, to support his
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 2   accusation.    That’s the purpose of requesting all of his

 3   social media accounts.       Not only may there be evidence

 4   in there of further publications to other third parties

 5   and direct messages and things like that, but, again, it

 6   goes to the question of malice, whether he has any

 7   documents to support the accusation.

 8              THE COURT:      Ms. Bolger, has Mr. Flynn searched

 9   his social media or have you searched Mr. Flynn’s –

10   sorry – Mr. O’Sullivan’s social media for anything

11   related to the Flynns or the report?

12              MS. BOLGER:      We have, Your Honor.        We’d just

13   like to mention that talking to a Bolger about a Flynn

14   and an O’Sullivan is a little bit confusing.             But we

15   have, Your Honor.      Mr. O’Sullivan did not use his social

16   media to news gather at all for this piece, and we did

17   check that.    He does for other stories he has used it,

18   so his social media accounts and his direct messages

19   include privileged materials that wouldn't be relevant

20   here, but we have asked and we have searched and he does

21   not have material that is relevant to this report.

22              THE COURT:      Okay, but aside from the report,

23   anything else about the Flynns?

24              MS. BOLGER:      I’m sure there’s stuff in there

25   about General Flynn for sure.         He reports on QAnon,
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 2   that’s his, one of his beats, right.           I don’t know that

 3   we have asked him specifically about Jack and Leslie

 4   Flynn.   I can go make sure we have asked that specific

 5   question.    But the question about General Flynn would

 6   necessarily implicate all kinds of news gathering

 7   materials for all kinds of other stories that Donie has

 8   done, and so that’s very overbroad, but we can go back

 9   and ask about Jack and Leslie.

10               THE COURT:     Yes, that’s fine.       If you can just

11   doublecheck that, as you searched, that his social media

12   for Jack and Leslie Flynn has been searched.

13               Okay, number 10.     Mr. Biss.

14               MR. BISS:     So in number 10, Judge, I went back

15   and I did some research on prior reports that CNN has

16   published where the phrase QAnon follower has been used.

17   And in these series of requests, and there’s a number of

18   them, and I can’t tell you how many, but there’s a

19   series of requests that all relate to the same subject

20   matter, and that is what is CNN’s definition of QAnon

21   follower.    And, again, I think it’s relevant to the

22   question of what a QAnon follower is.           Judge Woods, I

23   think Judge Woods has probably defined it, so I don’t

24   know this is relevant.       But I want to know whether they

25   disagree with Judge Woods’s definition and how they
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 2   define QAnon follower when they’ve produced this report.

 3              THE COURT:      Okay, but according to your

 4   letter, number 10 asked about prior reports.             So --

 5              MR. BISS:      Right, and so their prior course of

 6   dealing, if you will, is obviously relevant to their

 7   intent when they published the report on February 4,

 8   2021.   So I mean if they’re using the same definition of

 9   QAnon follower and that definition doesn’t fit the

10   Flynns, that’s really, that’s kind of where I’m going

11   here is I want to know --

12              THE COURT:      It semes to me the only definition

13   that matters is Judge Woods’s definition.

14              MR. BISS:      I agree with that.

15              THE COURT:      (indiscernible) defines it.           So

16   whether CNN defined it differently or defined the word

17   follower of any other group differently doesn’t seem to

18   me to matter.     And is potentially very overly broad.

19   You know, as you said, Judge Woods’s interpretation is

20   what really matters here.        CNN could very well be wrong,

21   but that’s up to Judge Woods.         So I guess I’m not sure

22   why documents about CNN’s statements in other contexts

23   would be helpful at all to that.

24              MR. BISS:      Well, again, they might admit they

25   agree with Judge Woods’s definition, in which case, you
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 2   know, they would be estopped at trial to really sort of

 3   question the definition of QAnon follower.             So, again,

 4   there’s multiple reasons why you would want to know the

 5   position that a party has taken in the past on a

 6   particular subject, and that’s really, that’s what the

 7   series of document requests go to.

 8              Again, I mean it’s just a matter of covering

 9   all bases on what is an important issue in this case,

10   and that is the phrase that they chose to use which is

11   QAnon follower.

12              THE COURT:      Okay, let me ask, Ms. Bolger, is

13   it readily acceptable to search other public reports

14   that CNN has done that use the word QAnon follower?

15              MS. BOLGER:      No, that would be impossible.

16   Two things, Your Honor.        One is I don’t have the

17   requests that Mr. – Mr. Biss and I have not conferred

18   about this.    This is the first minute I understand this

19   number 10 to be about more than one request.             Right?       He

20   just said it’s many requests, a series of requests.               I

21   don’t know what they are.        They haven't talked about it.

22              The only person whose definition of QAnon

23   follower matters for the purposes of the state of mind

24   of the speaker is Donie O’Sullivan.           None of those

25   reports in the document requests were Donie O’Sullivan
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 2   reports.    Right?     It’s what Donie knows.       So to answer

 3   the question, ask the question of Donie O’Sullivan, what

 4   is a QAnon follower, one would ask that question of

 5   Donie O’Sullivan, and he would answer it.            But what

 6   other people said a QAnon follower was, unless you can

 7   bring that home to Donie, as a matter of law, it doesn’t

 8   impact Donie’s state of mind.         (indiscernible) New York

 9   Times v. Sullivan, you have to home it to the speaker.

10   Right?

11              So the request is not relevant to the matter of

12   defamation law.       It’s hugely overbroad.       I wouldn't even

13   know how to search it and calls for all kinds of news

14   gathering materials again which is very, very

15   significant and a huge privilege protected by the First

16   Amendment, New York State Constitution, and New York

17   statutory law.       So these requests are really overbroad

18   and irrelevant because all that matters is Donie, and

19   Mr. Biss can ask Donie.

20              THE COURT:      Okay, I need to move along because

21   I do have another matter on at 11 o’clock, and I know we

22   haven't even gotten to CNN’s issues yet.            So I’m going

23   to deny that without prejudice.          Mr. Biss, you can

24   certainly ask Mr. O’Sullivan in his deposition if, you

25   know, what he understood the term QAnon follower to be
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 2   and what his sources of information about that were, and

 3   if it turns out that it was other people at CNN or other

 4   reports at CNN that informed that, then we can revisit

 5   this issue.     But for now I’m going to deny that one

 6   without prejudice, also for the additional issue that

 7   sounds like there may not even be an actual document

 8   request for this one.

 9               Just quickly, number 11, the tax returns.

10   According to Ms. Bolger’s letter, Mr. Biss, she’s

11   provided you with CNN’s net worth.          Is anything further

12   needed on this at this time?

13               MR. BISS:     Well, Judge, she provided me with

14   somebody’s statement of book value as the statement of

15   net worth, and I’m entitled to know what the support is

16   for that.     I’m entitled to the tax returns, I’m entitled

17   to financial information.        I mean they can come up with

18   any number they want.       They can just, oh, here’s the

19   book value.     And I don’t even know if that’s a proper

20   accounting methodology.        But they’ve given me a

21   document, and the document is book value.            I just want

22   the underlying support for it, that’s all.

23               THE COURT:     Well, Ms. Bolger, are CNN’s

24   financial results publicly reported anywhere?

25               MS. BOLGER:     So the CNN net worth number is,
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 2   did not exist in the world until this year when it was

 3   calculated as part of actually a litigation, it was

 4   calculated.    It is not public otherwise.          It didn’t

 5   exist until this net worth calculation.            And Mr. Biss is

 6   certainly not entitled to know anything more than net

 7   worth.   Not only would CNN’s value not be relevant until

 8   punitive damages, but you cannot disgorge profits in a

 9   defamation or (indiscernible) claim.           Right?    It’s only

10   relative to punitive.       To open up CNN’s accounting

11   because of the possibility that you might have

12   hypothetically get punitive damages would be

13   unbelievably burdensome, and it would be unbelievably

14   stressful in the company.        And it’s not necessary.

15              If Mr. Biss wants to come back to this later,

16   maybe we can do it later, but right now net worth is all

17   he needs if he wants punitive damages because you can’t

18   disgorge profits in a defamation or a falsehood action.

19              THE COURT:      Right, and --

20              MR. BISS:      Judge, I’m not asking --

21              THE COURT:      -- CNN’s not good for, I mean it’s

22   not like there’s any concerns about their ability to pay

23   a judgment in this case.

24              MS. BOLGER:      Exactly, and we’ve also provided

25   our insurance agreement.        So he has our insurance
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 2   agreement and our net worth, and that’s all he needs.

 3              THE COURT:      Okay, Mr. Biss.

 4              MR. BISS:      Well, my position, Judge, is they

 5   can tell me a number, but obviously what matters is the

 6   truth.   And so that’s what discovery to me is all about

 7   is searching for what the truth is here.            And so yeah --

 8              THE COURT:      There’s lots of things that we

 9   care about the truth in, that we care about the truth

10   of.   But in this case CNN is insured so that you have

11   that information, and you have their net worth, and

12   obviously there’s no risk that they’re not going to be

13   able to pay a judgment.        It would be different if we

14   were concerned about their ability to pay a judgment.            I

15   don’t think you have expressed any concern about that.

16              MR. BISS:      Judge, and, again, I agree with Ms.

17   Bolger on that, I have no concern, given the document

18   that they’ve provided me, that they would be able to pay

19   any judgment awarded.

20              THE COURT:      Okay.

21              MR. BISS:      But that’s not, as I think I tried

22   to articulate, that’s not really, I mean to me that’s

23   not really the standard or shouldn't be the standard.

24   Rather the standard should be what’s the truth here, and

25   so when I, when you make arguments to a jury, obviously
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 2   you want to have the right, you want to have the truth,

 3   you want to be telling the truth, not what CNN said

 4   because it’s good enough.

 5              THE COURT:      All right, well, I agree with you,

 6   the standard is always the truth, but I’m not concerned

 7   about there being any question about the truth of this.

 8   And every person on the jury is going to refer to CNN

 9   and make their inferences about its ability to pay any

10   damages to the plaintiff in this case if that’s

11   appropriate.

12              Last issue is Mr. O’Sullivan’s employment

13   agreement.

14              MR. BISS:      I’m not sure what the objection is.

15   Obviously, in other CNN cases they’ve been ordered to

16   produce the agreements.        They relate to his, relate to

17   malice obviously, his incentive to lie, and they’re

18   relevant for other reasons as well.           But --

19              THE COURT:      How is it they’re on his incentive

20   to lie?

21              MR. BISS:      Well, he might be getting bonuses,

22   he might be getting perks, and this was addressed in the

23   Dershowitz case directly.        And in the Dershowitz case

24   the relevance was that the anchors or the reporters,

25   whoever the people were involved or whatever their
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 2   correct term was, they might be making these scandalous

 3   statements about the Flynns and about General Flynn and

 4   about Trump because to increase ratings.            And if they

 5   increase ratings by X amount, they get a bonus at the

 6   end of the year.      We don’t know any of that without

 7   looking at Mr. O’Sullivan’s pay structure and how he was

 8   compensated by CNN.       Dershowitz court said it’s relevant

 9   for that purpose, and it would be the same rationale

10   here.

11              THE COURT:      All right, have you served a

12   request for this, Mr. Biss?

13              MR. BISS:      Yes, I’ve served it, but in all

14   fairness we really haven't talked about it.             I’ve

15   emailed my concerns --

16              THE COURT:      Then I’m not deciding it today.

17   The parties can meet and confer on this issue, and if

18   you’re not able to resolve it, you can raise it with me

19   again.   But we need to move along.

20              MR. BISS:      All right.

21              THE COURT:      Okay, Ms. Bolger, I’m sorry that

22   I’m just now getting to all the issues raised in your

23   letter about the plaintiffs’ production, but let’s try

24   to move as efficiently as possible.           So the first is

25   there are other social media accounts that you think the
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 2   plaintiffs need to be searching.

 3              MS. BOLGER:      Email accounts.       My number one is

 4   that we have four email accounts that we have discovered

 5   mostly through correspondence with third parties that we

 6   have subpoenaed, and we would, and they happen to be

 7   QAnon figures that we’d like Mr. Biss to search those

 8   email addresses, and Steven hasn’t told me whether he

 9   would agree to do that.

10              THE COURT:      Okay.

11              MR. BISS:      Yes, Judge, we agreed to do that.

12   I’ve already started that process.          For instance, with

13   Joe Flynn, I got a response from him already saying

14   that’s an old employer’s email.          He doesn’t know where

15   it came from, I don’t know where it came from.              But,

16   again, I’m doing that with regard to I think four or

17   five or six maybe emails that Ms. Bolger identified.

18   The process has already started.          I think there’s one

19   account, as I recall, Joe Flynn, there was either a

20   General Flynn account that doesn’t exist, the

21   mailsol.net account as I remember.          But we agreed to do

22   that.

23              THE COURT:      Okay.

24              MS. BOLGER:      We know those exist because we’ve

25   seen people send them emails to those accounts.
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 2              THE COURT:      Okay, great.      Next, Ms. Bolger.

 3              MS. BOLGER:      The next for us, Your Honor, is

 4   that at the last conference you directed the plaintiffs

 5   to run search terms himself on any remotely accessible

 6   email accounts.      Steven had not done that when we met

 7   and conferred last week, and you ordered him to do that.

 8   So I would like him to do that by a date certain.

 9              THE COURT:      You mean plaintiffs’ counsel.

10              MR. BISS:      And we agree to do that.        Ms.

11   Bolger or I think Ms. Cherner I think had suggested that

12   I get the passwords for the account and just pretend I’m

13   them, sign on to their Google accounts, and run it.                So

14   I’m going to do that.       The reason that I haven't done it

15   to date, Judge, is because of a summary judgment

16   deadline in the Northern District of Iowa which the

17   defendant’s summary judgment motion included 200 and

18   some odd exhibits.      So it was just a massive

19   undertaking.     I haven't had any time to do it, but I

20   agree to do that, and I’m going to do that.             I’ve run

21   the search for I can’t remember if it’s Laurie Flynn or

22   Valerie Flynn.     It’s one of the plaintiffs in the

23   Florida part of this case.        So which returned nothing

24   other than what we’ve produced.          But I’ll do that for

25   all the other accounts as well.          I’ll personally sign on
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 2   at my computer here in Charlottesville and search.

 3              THE COURT:      All right, well, have fun with

 4   that.

 5              MR. BISS:      Yeah.

 6              THE COURT:      Next, Ms. Bolger.

 7              MS. BOLGER:      We would like – you had

 8   instructed plaintiffs’ counsel to advise us about what

 9   search terms were used, and you actually explicitly at

10   the hearing just telling us that search terms from the

11   document productions wasn’t enough.           And we haven't

12   heard from Mr. Biss as to what search terms he used

13   other than to reference the document productions which

14   is what you had said not to do.          And in addition, Your

15   Honor, we served additional requests that have

16   additional search terms.

17              So all I want Mr. Biss to do is sit down and

18   type up the search terms and what he told his clients to

19   do and what the date range was so we know what he’s

20   doing.   I mean we, our concern all along is that Mr.

21   Biss just said to his clients, hey, run a few search

22   terms, and we have no sense that Mr. Biss is really

23   controlling the process.        So we’d like to know, we’d

24   like Mr. Biss to sit down and type out what the search

25   terms were, type out how he did, how they were doing the
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 2   search, and give us the date range so we know what

 3   search terms were used against what account.

 4               THE COURT:      Mr. Biss.

 5               MR. BISS:     So, Your Honor, start with the date

 6   range thing.     So the date range is, as I advised Ms.

 7   Bolger, the date range that we ran is, or that I

 8   instructed them to run is the date range on the document

 9   requests.     It’s so broad that sometimes they request

10   documents that don’t exist because the companies that

11   they’re looking for information on weren’t created until

12   like 2020 but they go all the way back to 2016.              So I

13   used their date range, I used their search terms, and in

14   my email to Ms. Bolger, I said, you know, we ran the

15   same search terms as are stated in your request for

16   production of documents 13 and 14 or whatever the

17   numbers are, and it’s a long list of search terms.               It

18   begins with, and I just always remember this, it begins

19   with somebody by the name of Acbug (phonetic) [sic], and

20   I think I just remember that because it’s a very unique

21   last name.     I never heard of it before, and none of my

22   clients had ever heard of it before.           So ran --

23               (interposing)

24               MS. BOLGER:      Those aren’t all the search terms

25   though.     Those were the people we asked you search for.
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 1                             PROCEEDINGS                       43

 2   I just --

 3               MR. BISS:     Right, so --

 4               (interposing)

 5               MS. BOLGER:      Wait, there’s other codes that I

 6   would ask you to run.

 7               THE COURT:      Guys, guys, if you talk over each

 8   other, it’s not going to come up on the transcript.              Go

 9   ahead.

10               MR. BISS:     So we not only ran the search terms

11   on these various people, but we also ran the search

12   terms on various hash tag concepts beginning with Acun

13   and Forchan and Take the Oath and WWG whatever.              We ran

14   all those search terms.        And one thing that Ms. Bolger

15   raised in our meet and confer on the 14 th was, well, did

16   you search for all of the conferences that we

17   subpoenaed, like the QCon Live and Reawaken Tour and all

18   that, and there’s a whole big list of these conferences

19   that they searched for.        And, by the way, we’ve

20   responded to their discovery requests on all these

21   conference, we produced two documents which is all that

22   the Flynn, and any Flynn has.

23               So I agreed with Ms. Bolger I would expand the

24   search terms to include the names of all those

25   conferences that they’ve identified, like the latest one
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 2   being the Digital Soldiers Conference.           And just so the

 3   Court understands what Digital Soldiers is, General

 4   Flynn, you can’t say he invented the term --

 5              THE COURT:      Honestly, I can’t get a full – I

 6   understand, you’ve mentioned it before --

 7              MR. BISS:      Okay.

 8              THE COURT:      -- and I don’t’ have time.            I have

 9   other parties dialing in in eight minutes, and we have a

10   lot to get through.       So can you just simply provide,

11   send to Ms. Bolger, as I told you to do at the last

12   conference, a list of the search terms that you plugged

13   in.   It sounds like you’ve taken them from a couple of

14   different places, just put it all in one email, and send

15   it to her --

16              (interposing)

17              MR. BISS:      I can do that.

18              THE COURT:      Okay.

19              MR. BISS:      Yes, Your Honor.

20              THE COURT:      All right.     Okay, next.

21              MS. BOLGER:      Next is Mr. Biss needs to provide

22   us with an email and a home number for Laurie Flynn for

23   her Parler consent.       He said he would do it, and he

24   hasn’t.   Your Honor, for all of these things I’m just

25   hoping we can get like a date certain by which we’re
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 2   going to get this information, but I understand, Mr.

 3   Biss, you have agreed to give me that.           He just hasn’t.

 4              THE COURT:      Okay.    All right --

 5              MR. BISS:      Judge, here’s the problem on this

 6   Parler is that she didn’t have a Parler account.                 So I

 7   can’t give her what email was used or what phone number

 8   was used because she never did it.          And so --

 9              MS. BOLGER:      So we see evidence – we see

10   evidence of a Parler account in her name.            If the email

11   accounts and the telephone number don’t match, then we

12   won’t get the information.         If they match, we will.          We

13   see some evidence of it.        So if we can have the email

14   address and the telephone number, and it’s wrong, then

15   we don’t use it; and if it’s right, we get the

16   information.

17              THE COURT:      When – what is the date of the

18   Parler account that you see?

19              MS. BOLGER:      Parler’s fairly new, Your Honor.

20   I’m not sure I know the approximate date, but it would

21   be in this relevant time period.          We don’t have a date.

22              THE COURT:      Because what I’m trying to do is

23   if you know when – I’m trying to get at what the

24   information you have tells you when she had a Parler

25   account because what Mr. Biss can do is find out what
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 2   Ms. Leslie Flynn’s email and phone number were at that

 3   approximate time and that’s the information you can give

 4   to Parler.

 5               MS. BOLGER:     The Parler account has her photo

 6   on it, but it doesn’t not seem to have a date.

 7               THE COURT:     Okay.

 8               MS. BOLGER:     But we gave him the handle, but

 9   we know the handle.       So if we just get the email address

10   and the telephone number, then hopefully we’ll get the

11   handle.

12               THE COURT:     Okay.    Can you provide that to Ms.

13   Bolger please, Mr. Bass?

14               MR. BISS:     I will, Your Honor.

15               THE COURT:     Okay, thank you.       All right --

16               MS. BOLGER:     The next thing, Your Honor, I’m

17   sorry, I didn’t mean to talk over you, I was trying to

18   help.     I apologize.    The next thing for us is that Mr.

19   Biss provided us with a list of email accounts and

20   social media accounts he has searched.           But we had also

21   understood that Your Honor ordered, asked him to check

22   their text messages.       I asked Mr. Biss if he checked

23   their text messages and could provide me with those

24   phone numbers.     He has not done so.        I think that’s

25   within the scope of your original order and would ask
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 2   that he do so by a date certain.

 3              THE COURT:      Okay, Mr. Biss.

 4              MR. BISS:      Judge, my response to that was I’d

 5   have to fly down to Florida and check their phones or

 6   ask them to send their phones to me to do this.              I’ve

 7   never done that, and I think that’s grossly overbroad.

 8   I mean it’s just completely unnecessary.            I mean they’ve

 9   run that search.      I don’t have the resources to make

10   these trips and get their phones or have – and they

11   can’t be without their telephones.

12              THE COURT:      I asked you to – you’re really,

13   just the hyperbole is getting nauseating.            I asked you

14   to confirm that your clients had checked their texts.

15   That doesn’t require you to get on a plane.             It requires

16   you to get on the phone or on a videoconference with

17   your client and ask, explain to them what searching for

18   text messages means and ask them if they did that.

19              MR. BISS:      I’ve done that.

20              THE COURT:      Okay.    All right.

21              MS. BOLGER:      And can we have the telephone

22   numbers that you searched along with mail accounts?

23   Because, Your Honor, we did have to search email

24   accounts, we did provide text messages.            And, by the

25   way, Mr. Biss did belatedly produce us one text message
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 2   that’s certainly implies the existence of a bunch of

 3   other texts.     So it would be helpful at least for us to

 4   have some understanding of what devices were checked for

 5   texts.

 6               THE COURT:      Mr. Biss, can you provide Ms.

 7   Bolger with the list of phone numbers for which the

 8   texts were search?

 9               MR. BISS:     Yeah, I can do that, Your Honor.

10               THE COURT:      Okay, thank you.      All right, Ms.

11   Bolger --

12               (interposing)

13               MS. BOLGER:      Next is the client’s computers,

14   laptops.     We don’t have any idea whether that was done.

15               THE COURT:      Okay --

16               MR. BISS:     It was done.      It was done.     All

17   repositories were done, Judge, because that’s broad

18   enough to answer all those questions.

19               THE COURT:      Okay.     And then third-party

20   subpoenas.

21               MS. BOLGER:      This was just a weird semantic

22   thing, Your Honor, that in the, his responses, in the

23   third-party and the party’s responses to – actually,

24   Your Honor, can I list of devices that were searched?

25               THE COURT:      Sorry?
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 2               MS. BOLGER:     Sorry, I interrupted myself.

 3   Going back to the one we just talked about, the devices,

 4   could we also ask Mr. Biss to tell us what he was

 5   searched, what he searched, what list he searched?

 6               THE COURT:     No, no.     You can ask them at their

 7   depositions.

 8               MS. BOLGER:     Okay.    So in response to some of

 9   our requests, Mr. Biss said, provided the answer none

10   recalled.    And I don’t know what none recalled means.

11   None recalled would mean I can’t remember, not I

12   searched and I didn't find anything.           And it’s just not

13   totally clear to me whether there was any actual

14   searching done or whether the answer was none recalled.

15   And given the fact that we don’t know what search terms

16   were used, what dates range was used, what numbers were

17   used, that kind of stuff, that answer makes me nervous.

18               So I guess I’d just like some representation

19   from Mr. Biss that none recalled doesn’t mean none

20   recalled.    It means I did the search and didn’t find

21   anything because those are two very different things.

22               THE COURT:     Mr. Biss.

23               MR. BISS:     So, Your Honor, I explained how I

24   did the search, and when they say none recalled, people

25   like General Flynn or Joe Flynn, they might’ve had
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 2   thousands and thousands of social media tweets and

 3   retweets and what have you.         I mean they don’t remember

 4   how many.    But if somebody, if for some reason they

 5   retweeted something by Cynthia Acbug [sic], they don’t

 6   remember doing it, but they don’t want to be trapped

 7   into saying none and then have CNN say gotcha, you

 8   really did do it.      Here’s one we found.        That’s why they

 9   were cautious.     They were just careful and said we don’t

10   remember ever doing it.

11               So I mean I think that’s the cautious and

12   prudent approach rather than saying, you know, we never

13   had any communications.        So I think there’s a material

14   difference between saying none and saying, you know, I

15   might’ve communicated with them, but I don’t have any

16   recollection of that.

17               THE COURT:     Okay, let me just interrupt you

18   for a second.     If any of the parties on the Trombetta

19   matter, which I have one – this is Magistrate Judge Cave

20   speaking, if you called in for that matter, you can hang

21   up and call back into this line at 11:10.            Sorry about

22   that.

23               Okay, so, Ms. Bolger, with that explanation, is

24   this something that you can just follow up in the

25   depositions about this?
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 2              MS. BOLGER:      It doesn’t to me answer the

 3   question, Your Honor.       I’m obviously going to be guided

 4   by you, and maybe it makes sense to you.            But none

 5   recalled, even the way Mr. Biss articulates it, they

 6   don’t remember doing it, but did they look, did they

 7   check?   Right?    So you can remember a tweet, but you can

 8   also go onto your Twitter account and look, and I don’t

 9   have a sense of whether they ever did that.             And since

10   we’re relying on their searching and Mr. Biss says he’s

11   not doing the searching, I have no understanding of

12   whether they actually looked for these things or like,

13   yeah, I don’t remember whether I did it, I may have.                So

14   that’s all I’m asking.

15              THE COURT:      It sounds like you’re getting the

16   latter answer to me.       So I thought you were getting

17   Twitter authorizations.

18              MS. BOLGER:      We did get Twitter

19   authorizations, yes --

20              THE COURT:      You’re going to get the contents

21   of their Twitter accounts.

22              MS. BOLGER:      Well, we haven't gotten them yet,

23   but --

24              (interposing)

25              MS. BOLGER:      Can I come back to this one if I
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 2   need it, Your Honor?

 3              THE COURT:      Yes.    That’s fine.     All right, so,

 4   Mr. Biss, you have, I guess CNN has a couple of items

 5   that it’s following up on.        One is any published content

 6   for paragraphs 2 and 15 of the complaint, and Mr.

 7   O’Sullivan’s social media for anything about Jack or

 8   Leslie Flynn.     And then Mr. Biss is working on the

 9   various searches.      What are the parties thoughts about

10   timing of getting this done?         Let me start with you, Mr.

11   Biss, because you have more work to do at the moment.

12              MR. BISS:      Yeah, Judge, as I mentioned before,

13   this summary judgment experience, I call it an

14   experience because it was, I spent about 21 days having

15   to respond to, put my opposition together.             So I’m back

16   up for air.     I left the office at about midnight

17   yesterday.    I’m back up for air.        But it’s going to take

18   me some time to obviously do this.          I’ve already

19   initiated the process, and I’ve already, the Flynns have

20   already responded, many of them have responded.              Not all

21   of them but many of them have responded.            So I’ll be

22   able to, I would just ask till December 15.             Just gives

23   me, because I just, you know, obviously I don’t have the

24   luxury of, you know, people who, you know, can assist me

25   with all this stuff.
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 2              THE COURT:      Okay.

 3              MR. BISS:      So I’m not asking for any sympathy

 4   or pity for that.      I’m just saying that I just need some

 5   time as a human being to get all this done together with

 6   other responsibilities.

 7              THE COURT:      Okay.    Ms. Bolger, that’s

 8   reasonable to me.      Obviously we’re going to have to

 9   extend the deadline because we’re supposed to be ending

10   fact discovery by December 15.         Obviously that’s not

11   going to happen.      But I think that’s a reasonable amount

12   of time.

13              MS. BOLGER:      Your Honor, if we extend the

14   discovery, obviously then I’d have no reason to push,

15   but this is just the plaintiffs’ discovery, Your Honor.

16   You know, we haven't gotten anything.           We really need to

17   have a sense of what’s happening.          So I would just, you

18   know, I was going to ask if we wanted to talk about

19   extending deadlines, that was my last question for you.

20   And we’ve been really diligent from CNN’s point of view,

21   but we’re just not getting much.          So I was going to ask

22   if we could extend deadlines like six months or so to

23   take the pressure off, and if we did that, then the

24   December 15 date obviously wouldn't (indiscernible).

25              THE COURT:      I don’t think, six months seems
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 2   like a lot.     I was thinking like three --

 3              MS. BOLGER:      Well, Your Honor, if I’m not

 4   getting his stuff until December 15 --

 5              THE COURT:      But how many depositions do you

 6   have to take?     Jack and Leslie --

 7              MS. BOLGER:      Well, we served 28 third-party

 8   subpoenas, and we’re going to have to move to compel on

 9   a couple of those.      So I have a trial in late January

10   also, so I was hoping to avoid that, and it’s Christmas

11   in December.     I don’t always find people to be

12   responsive which was kind of the thinking behind the six

13   months.   But four months, something like that would be

14   fine.

15              THE COURT:      We’ll do April.      Six months seems

16   to me to be too long, and if I give you that much time,

17   you’ll use it.     So miraculously things always seem to

18   get done in the amount of time that we have.             So I’ll

19   extend it until around April 15.          We’ll figure out like

20   a reasonable day of the week that week for the extension

21   of the fact discovery deadline, and we’ll move

22   everything else accordingly.         Is that all right with

23   you, Mr. Biss?

24              MR. BISS:      It is, Judge.

25              THE COURT:      Okay.    Great.    So December 15 for
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 2   all the things that we listed for the plaintiffs to do

 3   today, and I’ll make the same deadline for CNN on their

 4   couple of follow-up items.         We’ll extend the fact

 5   discovery deadline to April, around April 15, and the

 6   other deadlines accordingly.         And I will do my best to

 7   get a ruling to you on the privilege documents by next

 8   week or so.

 9              Is there anything else, Mr. Biss, on your

10   agenda?

11              MR. BISS:      No, Your Honor, thank you.

12              THE COURT:      All right, Ms. Bolger.

13              MS. BOLGER:      Just one question which is in the

14   last order, Your Honor, you had ordered Mr. Biss to

15   produce something about social media accounts by

16   November 30.

17              THE COURT:      Okay.

18              MS. BOLGER:      I guess is that deadline now the

19   15 th , changed to December 15?

20              THE COURT:      I don’t remember --

21              MR. BISS:      Judge, I can do, I can get that to

22   Ms. Bolger by the 30 th .     However, I don’t see any reason

23   why if I can do it all by the 15 th , that’ll, I would

24   request that.     That would be – but --

25              MS. BOLGER:      I don’t disagree.       That’s fine
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 2   with me.    I just didn’t know, I just wanted to not be

 3   confused.    So that’s fine with me.

 4               THE COURT:     Let’s make it all the cleanup by

 5   December 15 of anything from last time and this time.

 6   Okay?   Good, thank you all.        Have a nice Thanksgiving.

 7   Thanks for working with me so efficiently today, and

 8   have a nice holiday.       We’ll be adjourned.

 9               MR. BISS:     You too, Your Honor, thank you.

10               MS. BOLGER:     Happy Thanksgiving, everybody.

11   Bye.

12               MR. BISS:     Bye bye.

13               (Whereupon, the matter is adjourned.)

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 2

 3                        C E R T I F I C A T E

 4

 5              I, Carole Ludwig, certify that the foregoing

 6   transcript of proceedings in the case of FLYNN, et al.

 7   v. CABLE NEWS NETWORK, Docket #21cv2587, was prepared

 8   using digital transcription software and is a true and

 9   accurate record of the proceedings.

10

11

12

13   Signature_______________________________

14                     Carole Ludwig

15   Date:     November 29, 2022

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